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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION


       OPTIMORPHIX, INC.,                  Civil Action No. 5:23-cv-134-RWS-JBB

                Plaintiff,
           v.
                                                 JURY TRIAL DEMANDED
       BROADCOM INC.,

                        Defendant.



                  PLAINTIFF OPTIMORPHIX, INC.’S OPPOSITION TO
                      BROADCOM INC.’S MOTION TO DISMISS
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           Defendant’s Motion to Dismiss should be denied as moot. On November 20, 2023,

 Plaintiff OptiMorphix, Inc. (“Plaintiff” or “OptiMorphix”) filed its Complaint in this case against

 Defendant Broadcom Inc. (“Defendant” or “Broadcom”). On January 26, 2024, Broadcom filed a

 Motion to Dismiss OptiMorphix’s Original Complaint. Dkt. No. 13.

           Through meeting and conferring, OptiMorphix, Broadcom, and Broadcom’s subsidiary,

 CA, Inc., agreed that OptiMorphix would file a First Amended Complaint substituting CA, Inc.

 for Broadcom. Pursuant to Federal Rule of Civil Procedure 15(a)(2), OptiMorphix obtained

 Broadcom and CA, Inc.’s written consent to file the First Amended Complaint (“FAC”) in this

 action.

           OptiMorphix’s FAC directs the infringement allegations against a new party (CA, Inc.).

 Upon its filing, the FAC became the operative complaint, rendering Broadcom’s Motion to

 Dismiss (Dkt. No. 13) moot. See, e.g., Stragent v. BMW of N. Am., LLC, 2017 U.S. Dist. LEXIS

 156076, at *3-4 (E.D. Tex. Mar. 27, 2017) (Schroeder, J.) (denying a motion to dismiss as moot

 because “[a]n amended complaint supersedes the original complaint and renders the original

 complaint as having no legal effect.”) (citing King v. Dogan, 31 F.3d 344, 346 (5th Cir. 1994));

 Oscar Private Equity Invs. v. Allegiance Telecom, 2004 U.S. Dist. LEXIS 4169, *7-8 (N.D. Tex.

 Mar. 17, 2004) (explaining “Plaintiffs inform the Court that they intend to file an amended

 complaint and that the amended complaint will set forth additional allegations . . . Because

 Plaintiffs will file an amended complaint, Defendants’ Motion to Dismiss is DENIED as moot.”).

           Because the First Amended Complaint has superseded the Original Complaint and become

 the operative pleading, Plaintiff respectfully requests that the Court deny Defendant’s Motion to

 Dismiss the Original Complaint as moot. Stragent, 2017 U.S. Dist. LEXIS 156076, at *3-4.



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  Dated: February 23, 2024                    Respectfully submitted,


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                                CERTIFICATE OF SERVICE
        The undersigned counsel hereby certifies that on February 23, 2024, a copy of the

 foregoing document was served on all counsel who have appeared in this case via email.


                                               /s/ Daniel P. Hipskind
                                                  Daniel P. Hipskind




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